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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                     8:16CR241

       vs.
                                                                        ORDER
SARKIS LABACHYAN,

                       Defendant.


       This matter is before the court on defendant's UNOPPOSED MOTION TO ENLARGE
TIME FOR CONSIDERATION OF PRETRIAL MOTIONS [28]. For good cause shown, I find
that the motion should be granted.         The defendant will be given an approximate 30-day
extension. Pretrial Motions shall be filed by October 7, 2016.


       IT IS ORDERED:
       1.      Defendant's      UNOPPOSED        MOTION        TO    ENLARGE         TIME      FOR
CONSIDERATION OF PRETRIAL MOTIONS [28] is granted. Pretrial motions shall be filed
on or before October 7, 2016.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between September 7, 2016 and October 7, 2016,
shall be deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendant's counsel required additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).


       Dated this 7th day of September, 2016

                                                     BY THE COURT:
                                                     s/ F.A. Gossett, III
                                                     United States Magistrate Judge
